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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 16-61760-CIV-DIMITROULEAS
  CRAIG JASON HEWELL,

         Plaintiff,
  v.

  NOR-SEG SECURITY SERVICES INC.,

        Defendant.
  _____________________________________/
        ORDER DENYING JOINT MOTION FOR IN CAMERA INSPECTION OF
                           SETTLEMENT AGREEMENT

         THIS CAUSE is before the Court upon the Joint Motion for Court Approval of

  Confidential Agreement and Dismissal of Case With Prejudice [DE 22], filed March 3, 2017.

  The Court has carefully considered the Joint Motion and is otherwise fully advised in the premises.

         Plaintiff claims that the Defendant violated the Fair Labor Standards Act

  (“FLSA”), 29 U.S.C. § 201 et seq. [DE 1]. As this Court has informed the parties, any

  settlement, bargain, or other compromise resolving an FLSA claim must either be

  presented to the Secretary of Labor or scrutinized by the district court for fairness. Lynn’s

  Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982); [DE 4].

  Furthermore, the Court warned the parties on July 25, 2016 that:

         [S]ettlement agreements may not be filed under seal, unless there are extraordinary
         circumstances. See Brown v. Advantage Eng’g Inc., 960 F.2d 1013, 1016 (11th
         Cir. 1992) (“Once a matter is brought before a court for resolution, it is no longer
         solely the parties’ case, but also the public’s case. Absent a showing of
         extraordinary circumstances . . . the court file must remain accessible to the
         public.”). The Court emphasizes that any circumstance to file under seal must be
         truly extraordinary to justify keeping the agreement from the public court file. As a
         result, the Court is unlikely to grant motions to file FLSA settlement agreements
         under seal.


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  [DE 4].

         Notwithstanding this warning, the parties have asked the Court for permission to review

  their settlement agreement in camera without putting it on the public record. The Court shall

  deny the parties’ request because it is in the public interest to have FLSA settlements in the public

  record. The parties’ desire to maintain the confidentiality of a settlement agreement does not

  constitute extraordinary circumstances.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. Joint Motion for Court Approval of Confidential Agreement and Dismissal of Case

             With Prejudice [DE 22] is DENIED.

         2. The parties shall file the settlement agreement on the record for the Court’s review on

             or before March 13, 2017. Alternatively, they shall file a notice stating that the case is

             no longer settled and that they are continuing litigation.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  6th day of March, 2017.




  Copies furnished to:
  Counsel of record




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